        .    Case 2:10-cr-00578-APG-GWF Document 77 Filed 11/21/12
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            Livolsi,Linda
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                                                                                   cT OF NEVADA
                                                                         BY                   DEPUTY
            10/30/2012 - TULSA - INITIAL EVALUATIO N
            Linda Livolsiwas sentto me by the DlstrictAttorney to evaluate hercancers.

            CHIEF COM PLAINT: *1only have one cancer,Ido notknow why the DistrictAttorney
            keep saying Ihave two cancers. M y thyroi
                                                    d is benign. Ionly have leukem ia.*

I           HISTORY OF PRESENT ILLNESS: The paientis a female who was sentto ouroffice
!           for evaluatlon of whether or not she could travelfor a coud date in Las Vegas.
I           Shestated to me thatshe had known me and had seen me in the pastwhile atSt.
i           Francisbackin2010(therearenorecordsthatIhaveeverseenherbefore).Shestated
l           that in March 2010, she required a blood transfusion. She then said that she was
i           hospitalized at St.Francis in July 2010 where she had flu,fevers,weakness,and had
!           been on m any antibiotic.s that did not relieve this. She said that she had leukem ia.
            She said thatshe w as told thatshe m ay have had a epreleukem ia ora m yelodysplastic
            syndrom e.e She said, *1 saw you and w hen I called your office for a new patient
            appointment,they said Ineeded a primarydoctorto referme,'(no records ofthis).
            lasked herspecificeall y if she had a bone m arrow aspirate and biopsy to confirm her
            diagnosis and she did not. I was unable to I     ocate any bone marrow aspirate and
            biopsies in her m edicalrecords thatdi agnosed acute Ieukem ia. She told m e that she
            was diagnosed w ith acute Ieukem ia in August 2010 on her firsttrip to MD Anderson.
            She said that the bone marrow biopsy down there sai       d that she had acute m yeloid
            Ieukem ia, the M2 subtype. W hen asked i     f we could gather those records, she said
            Linda Livolsiis on a *no reporr status down there because her sister is trying to get
            information abouther. She stated thatwhile atM D Anderson,she had been diagnosed
            with AM L-MZ. She said that she received two cycles of 7 plus 3 induction
            chem otherapy. She said thatherdoctorwas Dr.M alkin and she saidt*1do nothave the
            nam e ofthe others two,butone was O riental.,, She said thatthere Is a possibility that
            her actlte Ieukem ia arose out of a m yelodysplastic syndrom e. She said that her
            Ieukem ia m arker becam e negative. W hen asked specificeally what m arker, she was
            unable to tell m e. She said that she was supposed to go to do consolidation
            chem otherapy in January 2011 butdue te otherissues thatarose,she was notabl       e to.
            She said thatshe had a bone m arrow in January 2011 at M D Anderson thatconfirmed
            her com plete fem irysion and she states that since Januafy 2011 without further
            consolidation chemothem py,heracute Ieukernia has been in rem ission. ldid review a
            bone m arrow aspirate and biopsy that was perform ed at St.John's that revealed no
            evidence of Ieukem ia. She did not bring any papers from M D Anderson,butshe said
            thatshe had them athom e and she forgotto bring them . She told m e thatherIasttrip to
            M D Anderson was in January 2011 where they confirm ed herrem ission status and she
            said she is traveling to Houston again in this coming January forfurtherevaluation and
            confirm ing herstatus. She said thatshe is able to tcavelto M D Anderson forevaluation.
Case 2:10-cr-00578-APG-GWF Document 77 Filed 11/21/12 Page 2 of 4


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Uvolsi,Linda
10/30/2012
Page 2

HISTORY OF PRESENT ILLNESS (Continued): Today,she is feeling gocd with the
exception ofback pain from herwkidney stones,'butshe has no fevers,chills,sweats,or
weightloss rightnow .
M EDICATIONS: lbuprofen 800 m g twice a day,Prevacid 24 HR one in the m orning,
methimazole 5 mg half-tabl
                         et onoe a day (discontinued until further notice),
Celexa 60 mg once a day in the morning,torsem ide 30 mg two in the morning and one
in the afternoon,potassium chloride 20 m Eq two tim es a day,tem azepam 30 m g one at
bedtim e,Oxycontin 30 mg one tabletevery six hours as needed forbreakthrough pain,
Flexeril 10 m g one three tim es a day as needed, Mirapex 0.25 m g one a day,
acetam ifm phen 500 m g two tableY every six hours as needed;stoolsoftener 100 m g
two in the m om ing and two in the evening;Feosol45 m g tablets eightperday tw o in the
a.m .,two atnoon,two in the eveningjand two at bedtlm e;B12 1000 m cg two K blets a
day;fenl nyl75 mg patch every two days;m orphine 15 mg one every six hotlfs;Valium
2 mg one every 12 hours;prom ethazine w ith codeine one teaspoon every fourhours;
num erous vitam ins two tim es a day;AdvairDiskus 250/50 mcg dose inhalation one pu#
two times a daythatwas the m edicine Iistthatshe presented to m e.
ALLERGIES: Lortab.She said thatsh* had a m otor vehicle accld*nt In 1988 and
sh. stopped breathing aftertaking Lortab. Sh@ is allergic to G nicillin taken as a
child.
PAST M EDICAL HISTORY: Lupus. She said thatshe was diagnosed with Iupus in
2005 atUCLA MedicalCenterand iron deficiency anem ia.
PAST SURG ICAL HISTO RY: C-sections in April 15, 2003 and a C-section in
May 03,2005. She had gastric bypass surgery in 1997. She had hernia surgery in
1997. She had a kidney stentplaced in 2011 by Dr.Col   e Davis and Dr.John Forrest.
She had a total vaginal hysterectom y due to uterine tum ors that were benign at
St.Johns by Dr.Terry Zanovich. She had a tonsilled om y atage 5.
SO CIAL HISTORY: She is m arried. She has two children,a son age 9 and a daughter
age 7. She has three stepchildren. She has Leen a sm oker forthe past5ve years.
She denies alcohol consum ption, She says that she is unem ployed at present.
She worked as a snancialconsultant.
FAM ILY HISTO RY: Motherdi     ed in 1997 atage 44 from a brain aneurysm . Fatherdied
in 2004 atan unknown age from smallcellcancer. She is from Cleveland,Oklahom a.
She has one brotherage 38 w ho Iives in Tulsa,one sister age 41 who Iives in Tulsa.
She said there is a famil
                        y history ofdiabetes also.
     Case 2:10-cr-00578-APG-GWF Document 77 Filed 11/21/12 Page 3 of 4
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    Livolsi,Linda
    10/30/2012
    Page 3
    REVIEW OF SYSTEMS:
    General:                Shesaysthatshehasfeversdail
                                                      y. Shesayy she spendsmostof
                            hertime in bed,has chills a1lthe time and paln constantly.
    HEENT:                  She does notwearglasses. She denies hearing problem s.
    Pulmonary:              She denies asthm a,but she says she has chronic bronchitis and
                            she says thatshe has been coughing up blood. She says this is
                            due to tum ors in herlungs and she is being evaluated by a doctor
                            atMercy Hospitalin Oklahoma City (chestx-ray was completely
                            normaltoday).Shehadpneumoniaatage 19and in2006.
    Cardiovascular:         She said that she had a dilated cardiomyopathy where her
                            ejedion fraction wentdown to 27% when she was pregnantwith
                            her daughter. She stated that she recently had an ejection
                            fraction done at St. Francis Head HospiKl and the ejedion
                            fraction was 64% . She says that she gets interm ittent swelling
                            and can gain between 8 and 15 pounds offlui    d perday,butthis
                            goes away over night. She has occasional dyspnea and
                            occasionalchestheaviness.
    Gastrointestinal:       She has dysphagia to solids. The food gets stuck at the lower
                            part of her esophagus and she says she has to vom it it up.
                            She says Itis worse with m eat. She also has diarrhea.
    Genitourinary:          She says she has kidney infedions and cbronic kidney stones and
                            issues with urinary retention.
    Neurol
         ogic:              She says she has a seizure disorder. She was evaluated in UCI.A
                            fora seizure disorder and her lupus. She wonders ifshe has a
                            genetic brain aneurysm . She has frequent headaches.
                            She occasionally is num b. She has no weakness. No speech
                            changes.
    Gynecologic:            Gcavi da 6,para 2. She said she had four m iscarriages pri or to
                            20 weeks. She has irr% ularmenses,says her menarche is age
                            13,m enopause w as age 42.
    Derm atolx ic:          She says that her skin gets discolored frequently and has
                            occasionally has red Iines on it.
    Endocrine:              She says she does nothave thyroid cancer. She has fourgrow ths
                            around herthyroid and h'as thyroid problems butnotcancer.
    Psychiatric:            She says she is notdepressed butshe has a feeling ofanxiety.
    M usculoskeletal!       She e. a> she was diagnosed with Iupus in 2005.
Case 2:10-cr-00578-APG-GWF Document 77 Filed 11/21/12 Page 4 of 4



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uvolsi,Linda
10/30/2012
Page 4
PHYSICAL EXAM INATION:
General:         Her weight was 101.8 kg. Her blood pressure was 138/82.
                 Herpulse was 83. She is 5 feet7 inches, Heroxygenation was
                 99% and hertem pecature was 36.4. She was welldeveloped and
                 well nourished fem ale who kept moving around on her chair
                 stating thatshe was having back pain from kidney stones. Iasked
                 herifshe wanted to go to her urologistforthis who offl
                                                                      'ces across
                 the streetand she said no Iwillbe a1Iright.
Neck:            There was no palpable adenopathy.
Lungs:           Herlungs were clear.
Heart:           Regularrate and rhythm .
Abdom en:        Soft. Bowelsounds are presentand active withoutorganom egaly.
Extrem ities:    W ithoutedem a.

LABO RATO RY DATA: I did a com plete blood count,a norm alwhi       te be d cellcount
with a norm aldifferential. Her hem oglobin was 13.2,which was normal. Her platelet
countwas 254,000,which was norm al. Herchem istry panelrevealed pol ssium of3.4
with the normalrange of3.5 to 5.5 and a creatinine of1.18 with a norm alrange of0.5 to
1.0. Herliverenzymes were norm alas was the restofherchem istry panel.

ASSESSMENT AND PLAN: Aœ te m yeloid leukem ia,no evidence of disease. Ihave
absolutely no source docum entation to prove thatshe everhad acute m yeloid leukem ia.
There are no abnormalities on her present bone m arrow biopsies that revealed either
acute m yeloid Ieukem ia oran antecedent hem atol oglc disorder. ltis my opinion frorn
herstated history of acute myeloid Ieukemia thatshe is able to travel. She is indeed
intending to b'
              avelto Houston in January forevaluation ofherleukem ia.
T k m u forasking m     ee herand if Ican provide you with additionalinform ation,
pl as do rrthesiK te con ctm e.


     h P.Lynch, .D.
JPL/M SZ/VNI/CA
DD:11/20/12
DT:11/20/12
